   Case: 2:16-cr-00073-MHW Doc #: 82 Filed: 07/21/17 Page: 1 of 3 PAGEID #: 586




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                 Filed: July 21, 2017



Mr. George Chaney Jr.
500 Poydras Street
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Ms. Heather A. Hill
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303 Marconi Boulevard
Suite 200
Columbus, OH 43215

                     Re: Case No. 17-3768, USA v. Thomas Sweeney
                         Originating Case No. : 2:16-cr-00073-1

Dear Counsel,

   This appeal has been docketed as case number 17-3768 with the caption that is enclosed on a
separate page.

    Even if the defendant filed the notice of appeal, Sixth Circuit Rule 12(c)(1) requires that
counsel continue representation on appeal until specifically relieved by this Court. If a convicted
defendant did not qualify to proceed in forma pauperis in the district court but appears to qualify
on appeal, Sixth Circuit Rule 24 requires that "trial counsel must see that the defendant
completes CJA Form 23 (for an incarcerated defendant) or Fed. R. App. P. Form 4 (for a
defendant not incarcerated) and files it in the district court." Counsel's failure to act in this
situation may result in adverse action from this court.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.
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    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by August 4, 2017. Additionally, the transcript order must be
completed by that date.

NOTE: Effective July 18, 2016, all attorneys must order transcript for appeal by using the
CM/ECF docket entries. The transcript order form used prior to that date will not be accepted
after July 18. For further information and instructions on ordering transcript electronically,
please visit the court's website.

                  Appellant:    Appearance of Counsel
                                Application for Admission to 6th Circuit Bar (if applicable)


                  Appellee:     Appearance of Counsel
                                Application for Admission to 6th Circuit Bar (if applicable)

   More specific instructions are printed on each form. If the filing fee for the appeal is due
because the appellant is not indigent, it must be paid to the District Court by August 4,
2017. These deadlines are important -- if the initial forms are not timely filed or the filing fee is
due but not paid, the appeal will be dismissed for want of prosecution.

   If you have questions after reviewing the forms and the rules, please contact the Clerk's office
for assistance.

                                                  Sincerely yours,

                                                  s/Jennifer Earl
                                                  Case Manager
                                                  Direct Dial No. 513-564-7066


Enclosure
     Case: 2:16-cr-00073-MHW Doc #: 82 Filed: 07/21/17 Page: 3 of 3 PAGEID #: 588



                OFFICIAL COURT OF APPEALS CAPTION FOR 17-3768




UNITED STATES OF AMERICA

             Plaintiff - Appellee

v.

THOMAS A. SWEENEY

             Defendant - Appellant
